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                Appellate Division of the Supreme Court
                          of the State of New York
                         First Judicial Department


           I, Susanna M. Rojas, Clerk of the Appellate Division of the
    Supreme Court of the State of New York, First Judicial
    Department, do hereby certify that

                             Sophia Lin Lakin
    was duly licensed and admitted to practice as an Attorney and
    Counselor at Law in all the courts of this State on November 18,
    2013, has duly taken and subscribed the oath of office prescribed
    by law, has been enrolled in the Roll of Attorneys and Counselors
    at Law on file in this office, is duly registered with the Office of
    Court Administration, and according to the records of this Court
    is currently in good standing as an Attorney and Counselor-at-
    Law.



                                 In Witness Whereof, I have hereunto set
                                 my hand in the City of New York on
                                 January 11, 2024.




                                             Clerk of the Court




    CertID-00154789
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                      Supreme Court of the State of New York
                       Appellate Division, First Department

      DIANNE T. RENWICK                                                                 MARGARET SOWAH
         PRESIDING JUSTICE                                                          DEPUTY CLERK OF THE COURT


     SUSANNA MOLINA ROJAS                                                          DOUGLAS C. SULLIVAN
         CLERK OF THE COURT                                                         DEPUTY CLERK OF THE COURT


    To Whom It May Concern


           An attorney admitted to practice by this Court may request a certificate of good
    standing, which is the only official document this Court issues certifying to an
    attorney's admission and good standing.


           An attorney's registration status, date of admission and disciplinary history may
    be viewed through the attorney search feature on the website of the Unified Court
    System.


           New York State does not register attorneys as active or inactive.


          An attorney may request a disciplinary history letter from the Attorney
    Grievance Committee of the First Judicial Department.


         Bar examination history is available from the New York State Board of Law
    Examiners.


           Instructions, forms and links are available on this Court's website.




                                                            Susanna Rojas
                                                            Clerk of the Court




    Revised October 2020


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